
OPINION OF THE COURT
Memorandum.
The order of the Appellate Division should be affirmed and the certified question answered in the affirmative.
The motion to hold respondent Bankers Trust Company in contempt was properly denied. Assets of the United Nations Joint Staff Pension Fund, held by the bank, as draweepayor, are immune from seizure pursuant to an order of a court of this State under the doctrine of sovereign immunity (Matter of Means v Means, 60 Misc 2d 538, citing Matter of United States of Mexico v Schmuck, 294 NY 265). The United Nations has not waived immunity, and the bank, in response to a subpoena for information, has already divulged to petitioner that her husband, the beneficiary of the pension and a judgment debtor against whom she seeks to enforce an order of support, has none of his own funds on deposit with it.
Petitioner’s remaining contention on this appeal — that at some point the United Nations funds on deposit with respondent lose their immunity because they become "finally paid” by the bank (UCC 4-213) and take on a character of a debt owed directly to the judgment debtor capable of garnishment — was not timely raised before the court of original instance, and thus has not been preserved for our review.
Chief Judge Wachtler and Judges Simons, Kaye, Titone, *927Hancock, Jr., and Bellacosa concur; Judge Alexander taking no part.
Order affirmed, with costs, and certified question answered in the affirmative in a memorandum.
